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                          UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO

 DAVID K. HICKS, individually, and on
 behalf of all others similarly situated,

      Plaintiff,
                                                     Case No. 1:22-cv-00426-DRC-SKB
 v.

 CHARTER COMMUNICATIONS, INC.
 d/b/a SPECTRUM and JOHN DOES 1-10,

      Defendant.


       CORRECTION TO PLAINTIFF’S COUNTY OF RESIDENCE AND NOTICE
                 REGARDING INTRADISTRICT TRANSFER

        Plaintiff’s county of residence, per the Complaint, is Montgomery County. (Doc. 1,

PAGEID#: 2, at ¶ 6) (Plaintiff resides in Morraine, Ohio). The correct designation should be

“Western Division: Dayton” rather than “Western Division: Cincinnati.” See Loc. R. 82.1(b).

Pursuant to Loc. R. 82.1(e), Plaintiff’s counsel should have filed the case at the Dayton location.

Plaintiff’s counsel apologizes for this mistake and requests an intra-District transfer to Dayton.

                                                       By: /s/ Jonathan Hilton

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